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GOLDENBERG, MACKLER, SAVEGH, MINTZ,

PFEFFER, BONCHI & GILL

A Professional Corporation

660 New Road, Suite No. 1-A

Northfield, New Jersey 08225

(609) 646-0222 FAX (609) 646-0887

Attomeys for Plaintiff, Cherokee Solutions, Inc. as Assignee of

Judgment from Cityscape Corp. a/k/a Cityscape Mortgage Corp.(52804-11)

BY: /s/ Keith A. Bonchi
KEITH A, BONCHI, ESQ. (KAB3664)

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

CHEROKEE SOLUTIONS, INC. :

as Assignee of Judgment from : Hon, Katharine 8. Hayden, U.5.D.J.

Cityscape Corp. a/k/a Cityscape

Mortgage Corp. ' Civil Action No. 2:01-me-00021-KSH
Plaintiff, :

Vv.

WALSH SECURITIES CORP. CERTIFICATION OF SERVICE
Delendant,

On April 6 _, 2006, the undersigned mailed in the U.S. Post Office in Northfield,
New Jersey, in a sealed envelope with postage prepaid thereon, by regular first class mail, the
original and two copies of the within of Notice of Motion for Confirmation of Marshals Sale,
Certification of Counsel, Statement of Counsel ‘hat No Brief Is Necessary, Order Confirming

Sale of Property and Certification of Service to:
eee RR

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Clerk, Uniled Siates District Court

District of New Jersey

Martin Luther King Federal Bldg. & U.S. Courthouse
50 Walnut Street

Newark, NJ 07101

-and-
on the same date, a copy of same was mailed in the U.S. Post Office in Northfield, New Jersey,
in a sealed envelope with postage prepaid (hereon, by regular first class mail, to:

Ayesha Freeman, Asst. Corporation Counsel
City of Newark, Department of Law

920 Broad Street

Newark, NJ 07102

U.S. Marshals Service

District of New Jersey

Martin Luther King Jr. Fed. Bldg. & Courthouse
50 Walnut Street, 2°’ Floor, Suite 2009

Newark, NJ 07102

Attn: Elizabeth Baskerville, Civil Section

Robert A. Magnanini, Esquire

Boies Schiller & Flexner, LLP
150 JFK Pkwy.

Short Hills, NJ 07078

Atty. for Walsh Securities, Inc.

I certify that the foregoing statemenis made by me are true. T am aware that if any of the

foregoing statements made by me are willfully false, I am subject to punishment.

— ) polerace-

TA IT A, BROWN, PARALEGAT.
TO KEITH A. BONCHL, ESQUIRE

Dated: April b , 2006

